Case 3:17-cv-00072-NKM-JCH Document 1149-5 Filed 10/04/21 Page 1 of 2 Pageid#:
                                  19071




                       Elizabeth Sines, et al. v. Jason Kessler, et al.
                           Case No. 3:17-cv-00072-NKM-JCH




                     EXHIBIT 2738
            Plaintiffs’ Motion In Limine for the Court to Deem Authentic Certain
           Photographs and Videos Depicting Defendant Robert “Azzmador” Ray
Case 3:17-cv-00072-NKM-JCH Document 1149-5 Filed 10/04/21 Page 2 of 2 Pageid#:
                                  19072
